 8:05-cr-00310-JFB-TDT          Doc # 27   Filed: 08/25/05   Page 1 of 1 - Page ID # 53




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )
                   Plaintiff,                )
                                             )
            vs.                              )                8:05CR310
                                             )
JOSE LUIS HERNANDEZ-GOMEZ,                   )         SCHEDULING ORDER
                                             )
                   Defendant.                )


      IT IS ORDERED that the following is set for hearing on August 31, 2005 at
10:00 a.m. before Magistrate Judge Thomas D. Thalken, Courtroom No. 7,
Second Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha,
Nebraska:

      - Initial Appearance/Arraignment on Indictment

     Since this is a criminal case, the defendant must be present, unless
excused by the Court.

      DATED this 25th day of August, 2005.

                                           BY THE COURT:


                                           s/ Thomas D. Thalken
                                           United States Magistrate Judge
